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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No.

  RYAN MEANY

                 Plaintiffs,

  vs.

  ROCKY MOUNTAIN HOSPITAL AND MEDICAL SERVICES, INC., d/b/a ANTHEM BLUE
  CROSS AND BLUE SHIELD

                 Defendant.


                                           COMPLAINT


         COMES NOW the Plaintiff, Ryan Meany, by and through undersigned counsel, Thomas

  A. Bulger, Esq., of Silvern & Bulger, P.C., and respectfully submits this Complaint against the

  above-named Defendant.

                                              PARTIES

         1.      Plaintiff, Ryan Meany, is a natural person and citizen of the State of Colorado,

  with a current address of 1344 Diamond Rim Drive, Colorado Springs, Colorado 80921.

         2.      Defendant, Rocky Mountain Hospital and Medical Service, Inc. d/b/a Anthem

  Blue Cross and Blue Shield (“Anthem”), is a corporation and/or similar business entity which

  regularly conducts business in the State of Colorado, including but not limited to the

  advertisement, sale, processing and adjustment of health insurance claims. The Defendant’s

  registered agent for service of process is C T Corporation System, 7700 East Arapahoe Road,

  Suite 220, Centennial, Colorado 80112-1268.
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                                   JURISDICTION AND VENUE


         3.      At all pertinent times, Defendant Aetna insured, administered, and/or was

  otherwise responsible for the administration of the employee benefit plan which provides health

  insurance benefits to employees of Newmont USA Limited (“Newmont”), hereinafter “the Plan.”

  The Plan is referred to as “Health Savings Plan-28MT,” and is subject to the provisions of the

  Employee Retirement Income Security Act of 1974, 29 U.S.C. §1101, et seq. (“ERISA”). Upon

  information and belief, the Plan has delegated to Defendant Anthem its obligation to make all

  benefit decisions at issue in this claim, including regarding eligibility for health insurance

  benefits. Upon further information and belief, Defendant Anthem also insures the Plan.


         4.      At all pertinent times, Plaintiff was an active and full-time employee of Newmont

  and was a “participant” in or “beneficiary” of the Plan within the meaning of ERISA.


         5.      Thus, and at all pertinent times, and by virtue of said employment and status,

  Plaintiff was covered by the provisions of the Plan, including eligibility for health insurance

  benefits subject to the terms and conditions of the Plan.


                                   JURISDICTION AND VENUE


         6.      This matter is authorized and instituted pursuant to 28 U.S.C. §1331, to address

  violations of Plaintiff’s rights protected by Federal law, including their rights under ERISA and

  the subject ERISA Plan/policy.




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            7.    Pursuant to 28 U.S.C. §1391, and/or Federal law, venue is proper in this Court

  wherein Plaintiff resides, and wherein Defendant regularly conduct business and wherein (at

  least part) of the wrongful conduct alleged herein occurred.


                                  STATEMENT OF THE FACTS


            8.    At all pertinent times, Plaintiff was employed by Newmont, and was an active and

  full-time employee.


            9.    As an active and full-time employee, Plaintiff was eligible to, and did, participate

  in Defendant Newmont’s employee benefit plan (including health insurance benefits).


            10.   The Plan provides medical benefits to its members and their beneficiaries,

  including coverage for inpatient rehabilitation services for mental health and/or substance abuse

  issues.


            11.   In or around August, 2019, Plaintiff was diagnosed with various disorders related

  to substance abuse requiring extensive treatment and care.


            12.   At all pertinent times, and beginning on August 5, 2019, Plaintiff was treated at

  The Recovery Village for inpatient care due to his conditions.


            13.   Plaintiffs timely requested approval and payment for said treatment from

  Defendant, and attempted to work with Defendant throughout 2019 and thereafter.




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         14.     Defendant belatedly responded on or about October 31, 2021, stating that the care

  at The Recovery Village was medically necessary, and would be paid on receipt of proof that

  Plaintiff was enrolled in the Plan between August 5th and August 23, 2019.


         15.     Despite these representations, Defendant thereafter denied Plaintiff’s claim, and

  has maintained that denial since, alleging it is not a covered service.


         16.     Despite its prior correspondence, Defendant alleges inter alia that inpatient care

  was not medically necessary under the Plan.


         17.     Thereafter, including on November 11, 2021, Plaintiff appealed through counsel,

  and submitted additional proof of medical necessity, and/or other information that the treatment

  is covered by the Plan.


         18.     Over the next year, Defendant refused to process Plaintiff’s appeal requesting

  multiple and duplicate forms not required by the Plan (a designation of representative on a

  specific internal form).


         19.     On or about June 2, 2022, Plaintiff provided these additional documents for (at

  least) the second time.


         20.     On or about June 22, 2022, Defendant requested the same forms again, and again

  refused to process Plaintiff’s appeal.


         21.     As of this date, Defendant has not rendered a decision nor requested an extension

  of time to do so.



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         22.     Defendant’s decision on the appeal is therefore overdue and deemed denied, and

  Plaintiff has exhausted all appeals required by the Plan.


         23.     At this time, Plaintiff’s medical expenses, which were reasonable, necessary and

  covered by the Plan, have not been paid.


                              CLAIM FOR RELIEF:
               VIOLATION OF ERISA, WRONGFUL DENIAL OF BENEFITS
                           PLAINTIFF V. DEFENDANT


         24.     At all pertinent times, Plaintiffs were covered by the Plan, which included

  coverage for medical benefits, as set forth above.


         25.     At all pertinent times, Newmont was the sponsor of the Plan, a claim fiduciary,

  and/or administrator of the Plan, and/or claim administrator, within the meaning of ERISA, and

  has delegated its decision-making responsibility to Defendant.


         26.     Defendant Anthem was otherwise delegated the authority to administer claims for

  disability benefits by the Plan, and/or is a claim administrator within the meaning of ERISA.


         27.     At all pertinent times, Plaintiff met the criteria for health benefits under the plan

  including that Plaintiff required inpatient care, and provided reasonable documentation (medical

  and otherwise) of that fact.


         28.     Defendant has improperly, erroneously, arbitrarily and/or capriciously denied

  Plaintiffs benefits due and owing under the Plan.




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         29.    Defendant’s wrongful conduct includes, but is not limited to:


                A.      Failing to consider all pertinent medical information, including but not

                limited to the opinions of Plaintiff’s treating physicians and/or healthcare

                providers and its own qualified consultant physician.


                B.      Failing to provide an adequate review and appeal;


                C.      Failing to act in Plaintiff’s best interest;


                D.      Failing to consider credible evidence of medical necessity;


                E.      Failing to consider Plaintiff’s prior medical history;


                F.      Failing to reasonably interpret and apply the terms of the Plan;


                G.      Failing to conduct a reasonable investigation;


                H.      Relying on medical guidelines and/or other documents that were not

                properly disclosed to Plan members; and


                I.      Failing to timely resolve Plaintiff’s appeal and/or otherwise comply with

                ERISA.


         30.    Defendant’ wrongful conduct has caused injuries and damages to the Plaintiffs,

  including expenses for necessary and appropriate treatment.




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                                             DAMAGES


         31.     The Defendant’ above-alleged wrongful conduct caused injuries and damages to

  the Plaintiffs, including but not limited to: Past and future economic damages, including but not

  limited to loss of health insurance benefits and related expenses. Plaintiffs have also incurred

  attorney’s fees and costs as a result of Defendant’ conduct.


         WHEREFORE, the Plaintiffs request judgment and damages against Defendant and/or

  the Plan as follows:


                 A.      A declaratory judgment that Defendant have violated Plaintiffs’ rights

                 under ERISA;


                 B.      Retroactive reinstatement of health insurance benefits and payment of all

                 back due benefits pursuant to ERISA §502(a)(1)(b).


                 C.      Reasonable attorneys’ fees and costs, including but not limited to witness

                 fees, as provided in ERISA §502(G)(1), 29 U.S.C. §1132(g)(a) and/or other

                 applicable case law.


                 D.      Interest on any awards at the highest rate allowed by law as provided in

                 ERISA §502(G)(1), 29 U.S.C. §1132(g)(1).


                 E.      Such other and further relief as this Court deems just and appropriate; and


                 F.      Any and all penalties authorized by ERISA, including but not limited to

                 for Defendant’ failure to produce documents required by law.


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        Respectfully submitted this 29th day of August, 2022.

                                             SILVERN & BULGER, P.C.


                                             s/Thomas A. Bulger, Esq.______________
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